230 F.2d 945
    GARMEADA COAL COMPANY, Appellant,v.INTERNATIONAL UNION OF THE UNITED MINE WORKERS OF AMERICA, District 19 of the United Mine Workers of America, and Local Union 6130 of the United Mine Workers of America, Appellees.
    No. 12342.
    United States Court of Appeals Sixth Circuit.
    February 7, 1956.
    
      James Sampson, James S. Greene, Jr., Harlan, Ky., for appellant.
      W. R. Lay and Grant F. Knuckles, Pineville, Ky., for appellees.
      Before ALLEN, MARTIN and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant, an operator of coal mines in Bell County, Kentucky, brought an action for damages against the International Union of United Mine Workers of America, District 19 and Local 6130. It was asserted that the Local Union instituted a strike in violation of a contract between the Local and appellant, which strike lasted approximately a month, disrupted appellant's coal business, and caused the mining properties to deteriorate. The International Union and District 19 were alleged to have instigated and encouraged this strike. Trial by jury having been waived, the District Court after full hearing made careful and detailed findings of fact which are sustained by the record. It found, among other things, that the strike was called by the president of the Local; that the Local was not a party to the contracts alleged to have been violated; that there was no proof that the International Union's field agent instigated or encouraged the strike. On the contrary, the court found that the field agent made urgent appeals to the men to discontinue the strike and return to work. The court found that the Local in calling the strike did not act and was not authorized to act as agent of the International Union or of District 19.
    
    
      2
      These and other findings, so far from being clearly erroneous, are clearly correct, and the conclusions of law are in accordance with the applicable statutes and decisions. Cf. United Construction Workers v. Haislip Baking Co., 4 Cir., 223 F.2d 872.
    
    
      3
      Accordingly it is ordered that the judgment of the District Court be and it hereby is affirmed upon the grounds and for the reasons stated in the memorandum opinion, 122 F.Supp. 512, findings of fact, and conclusions of law of the District Court.
    
    